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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




 ------------------------------------------------    :
 UNITED STATES OF AMERICA                            : CASE NO. 1:06 CR 401
                                                     :
                                         Plaintiff   :
                                                     :
                       -vs-                          :
                                                     : ORDER ACCEPTING PLEA AGREEMENT
 WALLACE R. WILSON                                   : AND JUDGMENT AND NOTICE OF
                                                     : HEARING
                                      Defendant      :
 ------------------------------------------------    :


UNITED STATES DISTRICT JUDGE LESLEY WELLS


       This case is before the Court on a Report and Recommendation filed by United

States Magistrate Judge Nancy A. Vecchiarelli regarding the change of plea hearing and

plea agreement of Wallace R. Wilson which was referred to the Magistrate Judge with

the consent of the parties.

       On 22 August 2006, the government filed a five-count indictment against

Wallace R. Wilson for Conspiracy, in violation of 18 U.S.C. Section 371; bank fraud and

aiding and abetting, in violation of 18 U.S.C. Sections 1344 and 2; and money

laundering, in violation of 18 U.S.C. Section 1957. On 8 September 2006, a hearing

was held in which Wallace R. Wilson entered a plea of not guilty before Magistrate

Judge Vecchiarelli. On 15 March 2007, Magistrate Judge Vecchiarelli received
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Wallace R. Wilson’s plea of guilty and issued a Report and Recommendation (“R&R”)

concerning whether the plea should be accepted and a finding of guilty entered.

         Neither party submitted objections to the Magistrate Judge's R&R in the ten days

after it was issued.

         On de novo review of the record, the Magistrate Judge's R&R is adopted.

Wallace R. Wilson is found to be competent to enter a plea. He understands his

constitutional rights. He is aware of the charges and of the consequences of entering a

plea. There is an adequate factual basis for the plea. The Court finds the plea was

entered knowingly, intelligently, and voluntarily. The plea agreement is approved.

         Therefore, Wallace R. Wilson is adjudged guilty of Counts 6, 11 and 16 in

violation of 18 U.S.C. Section 1957.

         Sentencing will be:

                       11 June 2007 at 2:00 p.m.

                       Courtroom 19-A
                       19th Floor, United States District Court
                       801 West Superior Avenue
                       Cleveland, Ohio 44113


         IT IS SO ORDERED.



Dated:         19 April 2007                     /s/Lesley Wells
                                                 UNITED STATES DISTRICT JUDGE




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